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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                  AT LEXINGTON

 UNITED STATES OF AMERICA,                               CRIMINAL ACTION
                                                       NO. 5:12-CR-118-KKC-REW
         Plaintiff,

 V.                                                      OPINION & ORDER

 IBRAHIMSHAH SHAHULHAMEED,
         Defendant.



                                         *** *** ***

      This matter is before the Court on a report and recommendation (DE 144) from

Magistrate Judge Robert E. Wier. For the following reasons, defendant Shahulhameed’s

objections (DE 147) are DENIED and the Court follows the recommended disposition (DE

144).

                                  I.   BACKGROUND

      Prior to August 23, 2012, Shahulhameed worked for GlobalSource IT as a contractor in

the IT department of Toyota, providing general support to Toyota’s IT infrastructure. On the

evening of August 23, 2012, Shahulhameed was fired. (DE 131 at 1). During the early hours

of August 24, 2012, “Toyota experienced a cyberattack that rendered several of its computer

servers inoperable.” (DE 131 at 1). Toyota claimed, and it was later corroborated by the FBI

and an independent investigator, that the attack came from Shahulhameed’s Toyota-owned

laptop and username. “Toyota employees spent 2,133 hours responding to the cyberattack

between August 24 and October 30, 2012,” costing the company an estimated $152,070 to

respond. (DE 131 at 6).




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   Shahulhameed was charged with violating 18 U.S.C. § 1030(a)(5), by knowingly

transmitting and intentionally causing damage without authorization to a protected

computer. (DE 1). At trial, a jury convicted Shahulhameed of the sole count. (DE 95). On

June 4, 2014, this Court sentenced Shahulhameed to a total prison sentence of 48 months

followed by a 3-year term of supervised release. (DE 111). Shahulhameed appealed and the

United States Court of Appeals for the Sixth Circuit affirmed. (DE 131).

   Shahulhameed timely submitted the current § 2255 petition on August 8, 2016. After

receiving arguments from both parties, Magistrate Judge Robert E. Wier issued a report and

recommendation to this Court.        (DE 144).     The Magistrate Judge determined that

Shahulhameed had failed to show any basis for relief, and recommended this Court reject all

claims. Shahulhameed’s objections to the Magistrate Judge’s findings are reviewed below.



                                     II.   ANALYSIS

   A. Legal Standards

   For relief under 28 U.S.C. § 2255, Shahulhameed “must allege as a basis for relief: (1) an

error of constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3)

an error of fact or law that was so fundamental as to render the entire proceeding invalid.”

Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006) (quoting Mallett v. United States,

334 F.3d 491, 496-497 (6th Cir. 2003)). In making a § 2255 motion, a movant generally bears

the burden of proving factual assertions by a preponderance of the evidence. See McQueen

v. United States, 58 F.App’x 73, 76 (6th Cir. 2003) (per curiam).

   This Court makes a de novo determination of those portions of a recommended disposition

to which objections are made. See 28 U.S.C. § 636(b)(1)(c). In this case, Shahulhameed has

made objections to the Magistrate Judge’s finding that this Court had subject-matter

jurisdiction over the indicted offence, and that his retained counsel was not ineffective for

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failing to offer various pieces of evidence. See (DE 133-2). The Court reviews these objections

below.

   B. Subject-Matter Jurisdiction

   In his original habeas petition, Shahulhameed argues that the Computer Fraud and

Abuse Act (CFAA), under which he was convicted, does not apply to his conduct. (DE 133-1

at 3).   Shahulhameed posits that the Act only applies to hacking, and not employee

misappropriation. Id. Shahulhameed’s argument is as follows:

              If the court determines at any time that it lacks subject-matter
              jurisdiction, the court must dismiss the action. “Because the CFAA is
              anti-hacking statute, not an employee misappropriation statute [a]nd
              because the 18 § U.S.C. 1030(g) statute guidelines clarifying clearly no
              action under this subsection for Designer/computer/software or
              hardware or firmware manufacture’s negligent design.”

   (DE 133-1 at 3) (as in original).

   For several reasons, the Magistrate Judge found that this argument lacked merit. (DE

144 at 6-9). Shahulhameed now objects to that finding. After de novo review, the Court finds

subject-matter jurisdiction existed, and adopts the opinion of the Magistrate Judge.

   In federal criminal matters, the question of jurisdiction is straightforward. See United

States v. Hutsell, 2015 WL 1810679, No. 5:10-cr-78-JMH-CJS (E.D. Ky. Apr. 21, 2015).

Federal district courts have subject-matter jurisdiction over all offenses against the laws of

the United States. 18 U.S.C. § 3231. Generally, the jurisdiction power of § 3231 is invoked

when an indictment charges that the defendant committed a crime described in Title 18 or

in one of the other statutes defining federal crimes, and the indictment uses similar language

to the underlying statute. See United States v. Scruggs, 714 F.3d 258, 262 (5th Cir. 2013).

Here, the Indictment charged Shahulhameed with violating Title 18 U.S.C. § 1030(a)(5)(A)

and (c)(4)(B)(i), and tracked the language of those sections. (DE 14 at 1). Thus, subject-

matter jurisdiction plainly existed.


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   Shahulhameed’s argument that he could not be charged under the CFAA because the Act

only targets hacking, rather than employee misappropriation, does not change the result.

The Court notes that Shahulhameed’s argument invokes the language of 18 U.S.C. 1030(g),

a subsection of the Act that provides for a civil right of action. The language limiting actions

in cases of negligent design invoked by Shahulhameed only limits “actions brought under

this subsection,” and does not purport to affect the criminal liability provisions of the CFAA.

See 18 U.S.C. 1030(g).      Therefore, it has no bearing on the criminal prosecution of

Shahulhameed in this case, and his argument that the subsection extends immunity to his

actions is rejected. (DE 147 at 2). Further, to the extent Shahulhameed’s argument asks

this Court to vacate his sentence because he lacks the culpability required by the statute—

essentially he argues that his conduct was negligent rather than intentional—his culpability

argument has been addressed and rejected on direct appeal to the Sixth Circuit. See (DE 131

at 4-5) (“Shahulhameed intentionally caused damage to Toyota’s computer systems”).

Neither in his objections to the Magistrate Judge’s recommendation, nor in his original

arguments, does Shahulhameed show that he warrants habeas relief regarding subject-

matter jurisdiction.

   C. Ineffective Assistance of Counsel

   As another basis for relief, Shahulhameed claims that his counsel acted ineffectively at

trial. A defendant claiming ineffective assistance of counsel must show (1) that counsel’s

performance was deficient and (2) that counsel’s deficient performance prejudiced the

defendant. Strickland v. Washington, 466 U.S. 668, 687 (1984).

              To establish deficient performance, a person challenging a conviction
              must show that counsel’s representation fell below an objective
              standard of reasonableness. A court considering a claim of ineffective
              assistance must apply a strong presumption that counsel’s
              representation was within the wide range of reasonable professional
              assistance. The challenger’s burden is to show that counsel made errors


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              so serious that counsel was not functioning as the ‘counsel’ guaranteed
              the defendant by the Sixth Amendment.

   Harrington v. Richter, 562 U.S. 86, 104 (2011) (internal quotations and citations omitted).

Further, in order to prove prejudice, a movant “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would

have been different.” Strickland, 466 U.S. at 694.

   In this case, the Magistrate Judge found that Shahulhameed failed to show either

deficient performance or prejudice through his various critiques of his retained counsel. This

Court reviews a habeas petitioner’s specific, rather than general, objections to the Magistrate

Judges recommended disposition—simply re-arguing the merits of a position, without

specifying an issue of contention with how the Magistrate Judge previously reviewed that

position, does not qualify as a specific objection. See Miller v. Currie, 50 F.3d 373, 380 (6th

Cir. 1995); see also Scott v. LaRose, 2015 WL 1400558, No. 1:13-cv-000648 (N.D. Oh. Mar. 26,

2015). To the extent Shahulhameed lodges specific objections, see (DE 147 at 5), they are

reviewed de novo by this Court.

   At the outset, it should be noted that the Sixth Circuit has previously rejected

Shahulhameed’s argument that there was insufficient evidence to support his conviction.

(DE 131 at 2). The Sixth Circuit found that, on the record in this case, a reasonable jury

could have found that Shahulhameed knowingly transmitted computer codes and commands

to a protected computer; he did so without authorization from Toyota; he did so with the

intention to cause damage to Toyota’s computer systems; and the damage caused was at least

$5,000. (DE 131). A canvassing of the trial transcript shows that Shahulhameed’s retained

counsel mounted an aggressive defense in the face of very complex and technical evidence.

“The fact that a different or better result may have been obtained if a different decision had

been made, does not mean that the defendant has not had the effective assistance of counsel.”


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O’Malley v. United States, 285 F.2d 733, 734 (6th Cir. 1961) (citing United States v. Duhart,

269 F.2d 113, 115 (2nd Cir. 1959)).

       i. Authorized Access

   Shahulhameed posits that his attorney acted ineffectively by failing to offer specific

documents purportedly showing that specific changes were authorized, showing the specific

timing of changes made, and showing he had not been fired on the night of August 23, 2012.

(DE 147 at 4). The Magistrate Judge found Shahulhameed’s critiques of counsel to be

baseless accusations and, after review of each document submitted by Shahulhameed, the

documents to be of dubious relevance with no effect on the verdict. (DE 144 at 13-23). The

Magistrate Judge found that the decisions by trial counsel, including counsel’s treatment of

the submitted documents, were not deficient or prejudicial under Strickland. See (DE 144 at

10-12). Similar to the critique of his lawyer, Shahulhameed now critiques the Magistrate

Judge by pointing, sometimes incorrectly, to issues not discussed by the Magistrate Judge,

but issues that nonetheless have no relevance to the ineffective assistance of counsel analysis.

Therefore, this Court rejects each of Shahulhameed’s objections.

   First, Shahulhameed contends that the Magistrate Judge did not “address the issue of

which code/program, defendant’s used authorized access (retained through contract) to

perform unauthorized changes.” (DE 147 at 5) (as in original). But in fact, the Magistrate

Judge points out that it was through Shahulhameed’s unique laptop and username that

Toyota’s servers were accessed (DE 144 at #); the difference between accessing non-

production and client-facing servers in the context of the documents proffered by

Shahulhameed (DE 144 at 15); and whether the “VI Editor” software was used to edit files in

the Toyota system (DE 144 at 29-31). Regardless, Shahulhameed does not, and cannot, show

that a perceived failure by the Magistrate Judge to discuss the specific code used to hack

Toyota has any bearing on the ineffective assistance of counsel analysis.          Put simply,

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Shahulhameed offers nothing to show that further discussion in this area by the Magistrate

Judge would reveal that Shahulhameed’s trial counsel was deficient or prejudicial under

Strickland. As such, the objection is denied.

   Second, Shahulhameed argues that his counsel was deficient for failing to offer a specific

document as evidence that the “VI Editor” program was not used to edit files, contrary to an

assumption by the Government’s expert Justin Hall. (DE 147 at 9; DE 133-2 at 47-49). But

the Magistrate Judge points to specific instances in which Shahulhameed’s counsel furthered

this argument during cross-examination. (DE 144 at 28-31). During that examination, Hall

admitted that, while there was evidence of a “VI” command, evidence that the program had

been opened did not in fact mean that any edits had occurred.         (DE 127 at 153-154).

Shahulhameed’s counsel elicited agreement from Mr. Hall that he had no proof whatsoever

that any edits had occurred. Id. Counsel was further able to show that Shahulhameed did

not have explicitly granted root access, and had at least some limitation on his access

capabilities.   (DE 126 at 28).    Given this evidence, the Magistrate Judge found that

Shahulhameed’s counsel aggressively advanced the very arguments Shahulhameed now

claims he did not argue, and that the document itself has only fleeting relevance to these

arguments. (DE 144 at 31). In response, and other than conclusory statements that he was

prejudiced, Shahulhameed fails to show this Court that the document would have been

anything but cumulative, or that failure to introduce the document constituted deficient

performance, given the testimony elicited at trial.

   Third, Shahulhameed argues that the Magistrate Judge “did not address defendant’s

issue of when authorized changes…becomes unauthorized,” or whether the changes were

made in the course of his normal employment. (DE 147 at 5; DE 147 at 8). This contention

belies the record, as the Magistrate Judge spent a full 10-pages refuting Shahulhameed’s

arguments that his actions were authorized, and his attorney was ineffective in arguing such.

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(DE 144 at 13-23).        The Magistrate Judge considered each document offered by

Shahulhameed as proof of ineffective assistance of counsel, and rejected them.          Now,

Shahulhameed offers no new analysis, assertion, or evidence showing that his counsel’s

attack on authorization was deficient and prejudicial. There is simply no indication, other

than previously rejected arguments or conclusory statements by Shahulhameed, that habeas

relief is warranted as to this objection.

   In his habeas petition, Shahulhameed argues that his counsel was ineffective for failing

to introduce documents purportedly showing that the changes were made to Toyota’s systems

prior to August 23, 2012, and thus were made with authorization. (DE 133-1 at 42-43, 46-

48). Now, Shahulhameed objects to the Magistrate Judge’s recommendation because it, “does

not address the fundamental issues raised in Motion §2255 on above, how these changes

happened in February 2012, echoed on Toyota reports as if it occurred on August 23rd/24th.”

(DE 147 at 5, 7-8). This is untrue, as the Magistrate Judge specifically addressed allegations

of timing inaccuracies in his recommendation. (DE 144 at 27-28). The Magistrate Judge

pointed out that, while the specific documents now proffered by Shahulhameed were not

introduced, “defense counsel indisputably and forcefully raised these issues.” Id. In support,

the Magistrate Judge pointed out that defense counsel cross-examined the Government’s

forensic expert on multiple instances showing discrepancies as to when the system was

accessed, albeit focused on discrepancies nearer to the event in question than Shahulhameed

now argues.     Id.   It is clear that defense counsel pursued this strategy, and despite

Shahulhameed’s objection, it remains unclear that failure to introduce his proffered

documents was outside the realm of sound trial strategy. See Strickland, 466 U.S. at 689.

   Fourth, Shahulhameed argues that the Magistrate Judge failed to consider his various

arguments allegedly proving that his employment contract was improperly terminated,

meaning he retained authorization to make changes in Toyota’s system. (DE 147 at 6). This

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is incorrect, as the Magistrate Judge specifically refutes Shahulhameed’s argument using the

text of his proffered contract. (DE 144 at 22). Having done no more than allege that the

Magistrate Judge did not consider his argument, and being incorrect in that allegation,

Shahulhameed’s objection is denied.

       ii. Various Other Objections

   Shahulhameed objects to the Magistrate Judge’s analysis of his evidence of

ToyotaSupplier.com’s availability on the morning of August 24, 2012.            (DE 147 at 6).

Specifically, Shahulhameed seems to claim that the Magistrate Judge did not consider

evidence of the “browser cache,” and instead improperly focused on “Web Servers.” Id. This

is incorrect, as the Magistrate Judge acknowledged that Shahulhameed was arguing “that

counsel did not introduce certain web server logs and browser logs purporting to show that

the website was operational.” (DE 244 at 24) (emphasis added). The Magistrate Judge goes

on to detail how defense counsel substantially used this evidence at trial, pointing to counsel’s

use of a coinciding document on cross-examination. Id. Shahulhameed does not attack this

analysis, but simply, and incorrectly, states that the Magistrate Judge did not consider the

argument. The objection is therefore unfounded.

   Shahulhameed also challenged the jury finding that his actions caused at least $5,000 of

damage, as required by the CFAA, on direct appeal and his argument was rejected. (DE 131

at 6). In his habeas petition, Shahulhameed contends that his counsel was ineffective for not

challenging the Government’s calculation of damages. The Magistrate Judge rejected this

argument, as does this Court. Given that the estimation was extremely detailed by both

Toyota and the Government, and resulted in a damage value of over $150,000, trial counsel’s

decision to focus on other elements of the crime does not fall outside the realm of sound trial

strategy. See Strickland, 466 U.S. at 689. Shahulhameed’s objection argues that he “is not

contesting the hourly rate but contesting that employees had not worked on repairing

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damages, Toyota calculation(s) includes only investigation hours and does not include repair

hours.” (DE 147 at 6). However, Toyota specifically provided documentation showing that

Toyota employees spent 2,133 hours responding to the cyberattack, and hired Cincinnati Bell

Technology Solutions for 200 hours of additional labor. (DE 131 at 6). Other than a bald

allegation, Shahulhameed provides no evidence that these assertions are false. His objection

to the Magistrate Judge’s opinion is denied.

   Further, Shahulhameed argues that the Magistrate Judge failed to consider that others

may have been at fault, either through changes they made independently or through

fraudulent use of his user account. (DE 147 at 5, 7). This is incorrect, as the Magistrate

Judge specifically rejected the notion that someone other than Shahulhameed made the

changes in Toyota’s system.      (DE 144 at 31-33).      Further, Shahulhameed critiques his

attorney for “failing to establish that defendant’s id/password was tampered to produce

evidences against defendant when he knew that other people was at the time’s established

on record and did no more investigation on the issue.” (DE 147 at 7) (as in original). Besides

this conclusory allegation, Shahulhameed points to no evidence, within the record or without,

showing that such a position was capable of being proven, or that his attorney’s conduct was

deficient. Quite the opposite, the Magistrate Judge points out that Shahulhameed’s counsel

aggressively sought more information regarding the underlying Toyota record (DE 127 at

161, 169); counsel criticized the quality of the investigative record at trial (DE 127 at 42, 216);

and there is no plausible proof indicating that other users were involved on this record. (DE

144 at 33). In response, Shahulhameed has not set forth facts which entitle him to relief on

this objection. See O’Malley v. United States, 285 F.2d 733, 735 (6th Cir. 1961) (“When a

motion is made to vacate or set aside a judgment under Section 2255, the movant must set

forth facts which entitle him to relief. Conclusions, not substantiated by allegations of fact

with some probability of verity, are not sufficient to [even] warrant a hearing”).

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   D. Request For Evidentiary Hearing

   Shahulhameed requests an evidentiary hearing on his pending Motion. (DE 133 at 8).

This Court conducted the original trial, has reviewed the extensive transcript of that

proceeding, and has been familiar with this case’s subsequent stages. Here, no evidentiary

hearing is necessary because the record conclusively demonstrates that Shahulhameed is not

entitled to relief. See Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999).

   E. Miscellaneous Requests

   Shahulhameed has filed two other motions in addition to objecting to the Magistrate

Judge’s recommendation. See (DE 149, 150). Docket Entry 149 asks the Court to consider

arguments made in Shahulhameed’s previous motion for new trial in conjunction with his §

2255 motion. (DE 149 at 1). Shahulhameed’s motion for new trial was previously rejected

(DE 148), and the current motion was not filed until well after the time for filing objections

to the Magistrate Judge’s recommended disposition had run. See (DE 149); 28 U.S.C. §

636(b)(1). Nonetheless, review of the arguments filed in Shahulhameed’s motion for new trial

shows that the evidence therein was also included in Shahulhameed’s § 2255 motion and has

already been considered by the Magistrate Judge. See also (DE 149 at 2) (“Defendant did not

raise new argument in Federal Rules of Criminal procedure33 (a) which all raised as part of

motion § 2255”) (as in original). Objections to the Magistrate Judge’s analysis have been

addressed within this opinion. Therefore, Docket Entry 149 is denied as moot.

   Shahulhameed also files a “motion for final order adverse to the applicant based on Rule

11, Rules Governing Section.” (DE 150) (as in original). Shuhulhameed asks the Court for

relief based on a lack of subject-matter jurisdiction and due to ineffective assistance of

counsel. (DE 150 at 2). The Court finds no “Rule 11” that offers such relief at this procedural

posture. Nonetheless, the subject-matter jurisdiction and ineffective assistance of counsel

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arguments have already been filed with the Magistrate Judge, they were the thrust of

Shahulhameed’s § 2255 motion, and they have already been considered as objections to the

Magistrate Judge’s recommendation above. Therefore, Docket Entry 150 is also denied as

moot.

   F. Certificate of Appealability

   In the case of a § 2255 petition, a certificate of appealability may issue “only if the

applicant has made a substantial showing of the denial of a constitutional right.” 28 U.S.C.

§ 2253(c)(2). The Supreme Court has further explained that the standard of § 2253(c)(2) is

met when “reasonable jurists could debate whether (or, for that matter, agree that) the

petition should have been resolved in a different manner.” Welch v. United States, 136 S.Ct.

1257, 1263 (2016) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)). In this case, the

issues presented are not adequate enough to deserve encouragement to proceed further, and

no reasonable jury could find that Shahulhameed’s claims that his counsel acted ineffectively

could be resolved in a different manner. See Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

As such, the recommendation of the Magistrate Judge is adopted, and no certificate of

appealability shall issue.



                                III.    CONCLUSION

   For the foregoing reasons, and with the Court being otherwise sufficiently advised, it is

HEREBY ORDERED that:

        1) The recommended disposition (DE 144) is ADOPTED as the Court’s opinion;

        2) Defendant Shahulhameed’s objection to the recommended disposition (DE 147) is

           DENIED;




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       3) Defendant Shahulhameed’s motion under 28 U.S.C. § 2255 to vacate, set aside, or

          correct a sentence by a person in federal custody and request for evidentiary

          hearing (DE 133) is DENIED;

       4) Defendant Shahulhameed’s motion to include supplemental evidence originally

          filed in his motion for new trial (DE 149) is DENIED;

       5) Defendant Shahulhameed’s motion for final order adverse to the applicant based

          on Rule 11 (DE 150) is DENIED;

       6) A certificate of appealability SHALL NOT ISSUE because Defendant has failed

          to make a substantial showing of the denial of a constitutional right; and

       7) A separate judgment shall issue.

Dated January 8, 2018.




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